Case 2:19-cv-01382-RJC Document 1-7 Filed 10/24/19 Page 1 of 15

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

REBECCA NELSON
186 Chartiers Ave
Pittsburgh, PA 15205

Plaintiff,
Vv.
STATE FARM FIRE & CASUALTY
COMPANY (d/b/a State Farm),
1 State Farm Plaza

Bloomington, JL 61710

Defendant.

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CIVIL DIVISION

Docket #: GD-19-007602

COMPLAINT
JURY TRIAL DEMANDED
Filed on behalf of: Plaintiff.

COUNSEL OF RECORD FOR THIS
PARTY:

David M. Kobyhinski, Esquire
Pa. ID No.: 92233

Peter T. Kobylinski, Esquire
Pa. ID No.: 309832

PRAETORIAN LAW GROUP, LLC
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

REBECCA NELSON )
} CIVIL DIVISION
Plaintiff, )
) Docket #: GD-19-007602
v, )
)
STATE FARM FIRE & CASUALTY ) JURY TRIAL DEMANDED
COMPANY (d/b/a State Farm), )
)
Defendant. )
NOTICE TO DEFEND

You have been sued in Court. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and Notice
are served, by entering a written appearance personally or by attorney and filing in writing with
the Court your defenses or objections to the claims set forth against you. You are warned that if
you fail to do so the case may proceed without you and a judgment may be entered against you
by the Court without further notice for any money claimed in the Complaint or for any other
claim or relief requested by the Plaintiff. You may lose money or property or other rights
important to you. ‘YOU SHOULD TAKE THIS PAPER TO A LAWYER AT ONCE. IF YOU
DO NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.

Lawyer Referral Service
Allegheny County Bar Association
11 Floor Koppers Building

436 Seventh Avenue

Pittsburgh, PA 15219

(412) 261-5555
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

REBECCA NELSON )
) CIVIL DIVISION
Plaintiff, )
) Docket #: GD-19-007602
v. )
)
STATE FARM FIRE & CASUALTY ) JURY TRIAL DEMANDED
COMPANY (d/b/a State Farm), y
)
Defendant. )
COMPLAINT

NOW COMES Rebecca Nelson who sues State Farm averring as follows:
PRELIMINARY STATEMENT

1. "LIKE A GOOD NEIGHBOR, STATE FARM IS THERE."

2. These words, from a catchy jingle originally written by Barry Manilow, are a
deceptive lie.

3, State Farm spends millions of dollars each month pushing this jingle through all
forms of media for one purpose--to lull potential customers into lowering their guard and into
purchasing insurance contracts that cost more than the value of insurance provided.

4, Rebecca Nelson, like countless others, was lulled into purchasing State Farm's
subpar insurance. She found out the hard way, when you actually have a claim, State Farm goes
out of its way to find any reason not to pay.

5. In plaintiff's case, State Farm initially represented to her that it would honor its

insurance obligations and caused her to take deleterious actions as a result.
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6. Unfortunately for plaintiff, State Farm resumed its normal business practice of
evading its insurance obligations and unlawfully refused to pay Rebecca the insurance benefits
she was promised.

7. This is a wide spread and persistent pattern and practice of defendant. It happens
hundreds of times each month.

PARTIES & VENUE

8. Plaintiff Rebecca Nelson is an adult individual who resides at 186 Chartiers
Avenue Pittsburgh, PA 15205.

9. Defendant State Farm Fire & Casualty Company (d/b/a State Farm) is a foreign
corporation with its principal place of business located at 1 State Farm Plaza Bloomington, IL
61710.

10. Venue is appropriate in Allegheny County because defendant conducts business
within Allegheny County on a regular and continual basis.

MATERIAL FACTS

11. Plaintiff purchased her home, located at 186 Chartiers Avenue, Pittsburgh, PA
15205 or around November 12, 2015.

12. Plaintiff purchased homeowners insurance through defendant State Farm.

13, She purchased insurance through defendant based upon representations made by
defendant and its authorized agent, Greg McDonald.

14. Greg McDonald informed plaintiff that if she were to ever have a claim that State
Farm would take great care of her. In addition, as a result of the constant barrage of advertising,

she banked on fact that State Farm was a reputable insurance company. She was not aware that
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State Farm spends so much on advertising it begins each insurance account in the hole from its
advertising expenditure.

15. Plaintiff relied on and believed the same. Had defendant not made the same,
plaintiff would not have purchased homeowner's insurance from State Farm.

16. In December 2018, plaintiff retamed a contractor to repair what appeared to her to
be a small amount of water damage near her kitchen window. Plaintiff previously had believed
reasonably that the damage was from splashes from the kitchen sink and/or from her window
being left open a crack during a rain storm.

17. The contractor advised plaintiff that the water damage was much more extensive
and was caused by her roof being damaged. Plaintiff's roof was damaged in a manner that caused
water flowing from her roof to pour into her walls as opposed as going into the roof's adjacent
gutter.

18. The contractor advised plaintiff to retain a public adjuster and to submit an
insurance claim to her property insurer.

19, Plaintiff thereafter hired a public adjuster, Brian Pfister of Pfister Adjusting, Inc.,
to assist her with submitting a claim to her property insurer, defendant State Farm.

20. Plaintiff's public adjuster submitted a claim to State Farm on or around December
18, 2018.

21.  Asaresult of the damage to plaintiff's kitchen, basement and second floor
bedroom, plaintiff needed water remediation.

22. Plaintiff obtained an estimate from ServiceMaster Restore by All Pro

("ServiceMaster"), which came to $8,883.66 for the same.
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23. Plaintiff's public adjuster thereafter telephoned the State Farm claims adjuster to
discuss the estimate. The telephone call was recorded. During this conversation, State Farm
approved the estimate from ServiceMaster and instructed that plaintiff should proceed with the
same.

24. —_ Relying on State Farm's instructions, plaintiff so authorized ServiceMaster to
begin the remediation and drying of her home.

25, This work required removal of kitchen cabinets, her stove and removal of the wall
to studs. As a result, plaintiff's kitchen was rendered unusabie for its essential purposes.

26. — As to the second floor bedroom, a wall was removed to studs in order to permit
drying.During a telephone conversation with State Farm, plaintiffs public adjuster has advised
that plaintiff should begin water remediation and that the same was approved.

27. Inor around April 2019, State Farm sent a contractor to Ms. Nelson's house to
inspect the roof. The inspection occurred in the presence of plaintiff's public adjuster.

28. It was unreasonable and harmful for plaintiff for State Farm to have taken so long
to perform this inspection.

29. During this inspection, State Farm's contractor represented to Ms. Nelson's public
adjuster that the damage to plaintiff's home was covered by the terms of the policy.

30. Subsequent to the inspection, State Farm rescinded its prior representations and
denied plaintiff's claim for property damage.

31. State Farm further refused to pay for the water remediation that it had previously

authorized.
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32. Plaintiff's public adjuster thereafter requested that State Farm review the
recording of his conversation with State Farm regarding ServiceMaster and provide him with a
copy of the same.

33. State Farm refused, stating that it could not locate the recording. However, State
Farm "magically" decided to offer Rebecca $8,883.66 when it learned that she had retained an
attorney to investigate its conduct.

34.  Asaresult of State Farm's denial, plaintiff lacks adequate resources to complete
the repairs to her home. She has lived without a kitchen since December 2018, and has had to
wash dishes in her bathroom. Plaintiff therefore makes claim for the insurance benefits promised
to her by defendant.

35, In addition, the second floor bedroom remains stripped to its studs and plaintiff's
damaged roof remains in its damaged state with an unsightly tarp draped over the same.

36. State Farm's wrongful denial of her claim has impaired plaintiff's ability to enjoy
and occupy her home, and plaintiff makes a claim of damages therefore. These damages were
foreseeable to State Farm at the time in entered into an insurance contract with plaintiff, and
State Farm promised to prevent and/or minimize the same. Of note, State Farm advertises that its
insured can have peace of mind because "like a good neighbor, State Farm is there."

37. State Farm's wrongful denial of her claim has caused her to suffer severe
emotional distress and has caused her to suffer a diminution in her enjoyment of life as well as
hedontic damages. Plaintiff makes a claim of damages therefore. These damages were
foreseeable to State Farm at the time in entered into an insurance contract with plaintiff, and

State Farm promised to prevent and/or minimize the same.
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38. The state of disrepair to plaintiffs home has deleteriously affected her health. Of
note, the disrepair to her kitchen has caused plaintiff to experience severe respiratory distress
including by not limited to symptoms of severe congestion, severe coughing, fatigue and
malaise. Plaintiff makes a claim of damages therefore. These damages were foreseeable to State
Farm at the time it entered into an insurance contract.

39. The deleterious effects to plaintiff's health have caused her to lose wages, and
plaintiff makes a claim therefore. These damages were foreseeable to State Farm at the time it

entered into an insurance contract with plaintiff.

COUNT I
REBECCA NELSON v. STATE FARM
BREACH OF INSURANCE CONTRACT

40. The foregoing paragraphs are incorporated herein as if set forth at length.

41. As set forth above, plaintiff entered into a contract of property insurance with
defendant State Farm.

42.  Atall times relevant to this matter, plaintiff met all of her obligations and fulfilled
all of her obligations in order for her homeowner's insurance policy with State Farm to come into
and remain in force.

43. The damage to plaintiff's roof and the resulting consequential damage to plaintiff's
home is covered by the terms of plaintiff's policy, and State Farm is obligated to pay for the
same.

44. State Farm's refusal to pay Rebecca Nelson the insurance benefits to which she is

entitled constitutes a wrongful breach of insurance contract.
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45. Plaintiff seeks the expectancy and consequential damages set forth in the
foregoing section.

‘Wherefore, plaintiff Rebecca Nelson demands judgment in her favor and against
defendant State Farm Fire and Casualty Insurance in an amount exceeding $35,000 exclusive of
interest and costs.

COUNT II
REBECCA NELSON v. STATE FARM
BAD FAITH INSURANCE PRACTICES, 42 Pa. C.S.A. § 8371

46. The foregoing paragraphs are incorporated herein as if set forth at length.

47. Defendant lacked a reasonable basis in denying the benefits under the policy, and
defendant knew of or recklessly disregarded its lack of reasonable basis in denying the claim.

48. In addition, defendant made numerous representations to plaintiff and her public
adjuster and subsequently rescinded the same. In addition, plaintiff believes that State Farm has
destroyed or deleted audio recordings of telephone recordings relating to this claim.

49, Consequently, plaintiff respectfully requests that the Court order the following

relief:

a. That Defendant be ordered to pay the value of the damage to plaintiff's
home as provided for tn its Policy;

b. Punitive Damages.
c. Interest.
d. Attorney fees and costs.

WHEREFORE, plaintiff demands judgment in her favor and against defendant in an
amount exceeding $35,000.00, an award of punitive damages and an award of attorneys’ fees in

addition to interests and costs.
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COUNT Il
REBECCA NELSON v. STATE FARM
PROMISSORY ESTOPPEL

50. The foregoing paragraphs are incorporated herein as if set forth at length.

51. Defendant represented to plaintiff that her property damage claims had been
accepted that she should proceed with taking steps to begin repairs including but not limited to
water remediation through ServiceMaster.

52. Defendant communicated this information to plaintiff in a manner in which it
knew or should have known that plaintiff would rely upon the same and take actions deleterious
to her interests as set forth above.

53. Plaintiff reasonably relied upon the representations made to her and to her public
adjuster and thereafter took actions deleterious to her interests.

54. Plaintiff seeks an award of damages for the direct and foreseeable losses set forth
above.

Wherefore, plaintiff Rebecca Nelson demands judgment in her favor and against
defendant State Farm Fire and Casualty Insurance in an amount exceeding $35,000 exclusive of
interest and costs.

COUNT IV
REBECCA NELSON v. STATE FARM
NEGLIGENT MISREPRESENTATION

55. The foregoing paragraphs are incorporated herein as if set forth at length.

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56. Defendant represented to plaintiff that her property damage claims had been
accepted that she should proceed with taking steps to begin repairs including but not limited to
water remediation through ServiceMaster.

57. Defendant communicated this information to plaintiff in a manner in which it
knew or should have known that plaintiff would rely upon the same and take actions deleterious
to her interests as set forth above.

58. Plaintiff reasonably relied upon the representations made to her and to her public
adjuster and thereafter took actions deleterious to her interests.

59. Plaintiff seeks an award of damages for the direct and foreseeable losses set forth
above.

Wherefore, plaintiff Rebecca Nelson demands judgment in her favor and against
defendant State Farm Fire and Casualty Insurance in an amount exceeding $35,000 exclusive of
interest and costs.

COUNT V
REBECCA NELSON V. STATE FARM

VIOLATION OF PENNSYLVANIA UNFAIR TRADE PRACTICES AND CONSUMER
PROTECTION LAW

60. The foregoing paragraphs are incorporated herein as if set forth at length.

61. Defendant made promises through its authorized agent and through its massive
and concerted advertising campaign that the homeowner's insurance that it provided was of a
certain quality and that its insurance benefits would be available in case plaintiff's home suffered

damage.

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62. Defendant knew or should have known that its promises to plaintiff were false
and misleading. These promises confused and misled plaintiff and were tantamount to fraudulent
misrepresentations and/or fraud in the inducement.

63. Although the representations were made to plaintiff at the time the policy was
purchased, plaintiff was unable to determine that the policies lacked the advertised
characteristics until their claims for coverage were denied.

64. The insurance benefits promised by defendant did not match up with the
insurance provided to plaintiff. These deceptive promises and guarantees were false when made
and defendant knew or should have known the same.

65. Plaintiff reasonably relied on the representations of defendant.

66. The foregoing misrepresentations regarding homeowner's insurance were
deceptive and caused plaintiff to suffer monetary damages.

67. The aforesaid misrepresentations and conduct violated the Unfair Trade Practices
and Consumer Protection law 73 P.S. § 201-2(4) (v), (vii), (xiv), (ix) and (xxi) by:

(a) Representing that services have characteristics, uses or benefits when they do not
have;

(b}) Representing that its services are of a particular standard or quality when they are
of another;

(c) Failing to comply with the terms of any written guarantee or warranty given at,
prior to, or after a contract for the purchase of is made;

(d) Advertising services with intent not to sell them as advertised;

(e) Engaging in any other fraudulent or deceptive conduct which creates a likelihood
of confusion or of misunderstanding.

68. As aresult of the conduct set forth above, plaintiff has suffered damages by defendant's

failure to provide the homeowner's insurance it advertised. Plaintiffs seek an award of damages

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for the same including interest, attorney fees, litigation expenses and seek all statutory damages
under the UTPCPL including treble damages.

TRIAL BY JURY DEMANDED FOR ALL COUNTS

Respectfully submitted,

PRAETORIAN LAW GROUP, LLC

/s/ David M, Kobylinski

David M. Kobylinski, Esquire

Counsel for Plaintiff
Dated: September 26, 2019

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CERTIFICATE OF COMPLIANCE
I certify that this filing complies with the provisions of the Public Access Policy of the
Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that
require filing confidential information and documents differently than non-confidential

information and documents.

Submitted by:

/s/ David M. Kobylinski
David M. Kobylinski, Esquire (PA ID # 92233)

September 26, 2019

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CERTIFICATE OF SERVICE
I certify that a true and correct copy of the foregoing complaint was served upon the
person listed below by email and first class mail, postage prepaid:
Mark A, Martini, Esquire
Robb Leonard Mulvihill LLP
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minartini@rlmlawfirm.com

/s/ David M. Kobylinski
DAVID M. KOBYLINSKI

September 26, 2019

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